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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.,


                      Plaintiffs,

        v.                                              Civil Action No. 1:25-cv-00429

 ELON MUSK, in his official capacity, et al.,


                      Defendants.


 JAPANESE AMERICAN CITIZENS
 LEAGUE, et al.,


                      Plaintiffs,
                                                        Civil Action No. 1:25-cv-00643
        v.

 ELON MUSK, in his official capacity, et al.,


                      Defendants.



                  MOTION FOR RELIEF FROM LOCAL CIVIL RULE 7(n)

       Defendants hereby respectfully request to waive the requirement under Local Civil Rule 7(n),

to the extent it applies here, to file a certified list of the contents of an administrative record

simultaneously with the filing of Defendants’ Rule 12(b) motion to dismiss the Japanese American

Citizens League (“JACL”) Complaint. The grounds for this motion are as follows:

       1.        Local Civil Rule 7(n) states:

             In cases involving the judicial review of administrative agency actions, unless otherwise
             ordered by the Court, the agency must file a certified list of the contents of the
             administrative record with the Court within 30 days following service of the answer to the
             complaint or simultaneously with the filing of a dispositive motion, whichever occurs first.



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        2.      On its face, Local Rule 7(n) appears to impose this requirement on any dispositive

motion, even one to dismiss under Federal Rule of Civil Procedure 12(b) that does not rely on an

administrative record. Defendants intend to file a motion to dismiss the complaint in this case.

        3.      However, Local Rule 7(n) also indicates that it is meant to aid in the decision of a

dispositive motion that relies on an administrative record. See LCvR 7(n)(1) (requiring “an appendix

containing copies of those portions of the administrative record that are cited or otherwise relied upon

in any memorandum in support of or in opposition to any dispositive motion” (emphasis added)).

The comment to the Local Rule further notes that “[t]his rule is intended to assist the Court in cases

involving a voluminous record.” Cmt. to LCvR 7(n). Defendants’ motion to dismiss will not cite to

or otherwise rely on any administrative record, and thus the justification behind Local Rule 7(n) does

not apply at this juncture.

        4.      In any event, the Court should waive any applicable requirement in Local Rule 7(n)

under the circumstances here. The D.C. Circuit has long recognized that a court can resolve claims

at the motion to dismiss stage without the administrative record where the record is not germane to

the issues presented in the motion. See Am. Bankers Ass’n v. Nat’l Credit Union Admin., 271 F.3d 262,

266-67 (D.C. Cir. 2001) (rejecting argument that the district court erred in refusing to compel

production of the administrative record before deciding motion to dismiss). In turn, “the general

practice in this Court” is to waive Local Rule 7(n) when “the administrative record is not necessary

for [the court’s] decision.” Arab v. Blinken, 600 F. Supp. 3d 59, 65 n.2 (D.D.C. 2022); see also, e.g.,

PETA v. U.S. Fish & Wildlife Serv., 59 F. Supp. 3d 91, 94 n.2 (D.D.C. 2014) (waiving Local Rule 7(n)

in case challenging agency action when dispositive motion at issue raised only threshold jurisdiction

and failure-to-state-a-claim arguments); Connecticut v. U.S. Dep’t of the Interior, 344 F. Supp. 3d 279, 294

(D.D.C. 2018) (similar, “because the Court need not consider the administrative record in evaluating

the motions before it”); Patterson v. Haaland, 2022 WL 4534685, at *1 & n.2 (D.D.C. Sept. 28, 2022)


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(similar, “because consideration of the motion to dismiss does not require review of the administrative

record”); E. Atl. Servs. & Trading LLC v. Mayorkas, Civil Case No. 23-1946 (RJL), 2024 WL 4332554,

at *6 (D.D.C. Sept. 27, 2024) (waiving Local Rule 7(n) “because I do not rely on the administrative

record to decide the motions at issue”). Indeed, as will be discussed in Defendants’ forthcoming

motion to dismiss, JACL’s sprawling Complaint fails to identify any discrete agency action, making

the preparation of an administrative record particularly challenging.

       5.      Because Defendants’ motion to dismiss the JACL Complaint will not cite to or rely on

any administrative record, and any such record is unnecessary to resolving the threshold issues that

will be presented in the motion (jurisdiction under Rule 12(b)(1) and legal sufficiency of the asserted

claims under Rule 12(b)(6)), Defendants respectfully request that the Court waive the requirement in

Local Civil Rule 7(n) to “file a certified list of the contents of the administrative record . . .

simultaneously with the filing of” their Rule 12(b) motion.

       6.      Undersigned counsel conferred with JACL’s counsel via email on April 11, 2025.

JACL’s Plaintiff’s counsel informed the undersigned that they oppose the relief requested.

A proposed order is enclosed for the Court’s convenience.

Dated: May 2, 2025                                 Respectfully submitted,

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